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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                         )
In re:                                                   ) Chapter 11
                                                         )
GIGAMONSTER NETWORKS, LLC, et al.,1                      ) Case No. 23-10051 (JKS)
                                                         )
                                   Debtors.              ) (Jointly Administered)
                                                         )

      NOTICE OF SECOND AMENDED2 AGENDA OF MATTERS SCHEDULED FOR
       HEARING ON APRIL 18, 2023 AT 1:00 P.M. (PREVAILING EASTERN TIME)
                  BEFORE THE HONORABLE J. KATE STICKLES


                    THIS HEARING WILL BE CONDUCTED BY ZOOM ONLY.

                     COURTCALL WILL NOT BE USED FOR THIS HEARING.
                       Please use the following link to register for this hearing

     https://debuscourts.zoomgov.com/meeting/register/vJIsfuqsrTMuHcjeDfrG2bvoTJKkVhRAlmc

    After registering your appearance by Zoom, you will receive a confirmation email containing
                               information about joining the hearing.


I.        ADJOURNED MATTERS

1.        Motion of the Debtors for Entry of Orders: (I)(A) Approving Bidding Procedures for the
          Sale of (X) Stalking Horse Assets and (Y) Other Assets, (B) Authorizing the Debtors to
          Enter Into Stalking Horse Agreement for Stalking Horse Assets and to Provide Bid
          Protections Thereunder, (C) Scheduling an Auction and Approving the Form and Manner
          of Notice Thereof, (D) Approving Assumption and Assignment Procedures and (E)
          Scheduling a Sale Hearing and Approving the Form and Manner of Notice Thereof;
          (II)(A) Approving the Sale of Assets Free and Clear of Liens, Claims, Interests and
          Encumbrances and (B) Approving the Assumption and Assignment of Executory


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     The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are:
     GigaMonster Networks, LLC (2854); Gigasphere Holdings LLC (0250); GigaMonster, LLC (3014); Fibersphere
     Communications LLC (0163); and Fibersphere Communications of California LLC (5088). The Debtors’
     business address is 350 Franklin Gateway, Suite 300, Marietta, GA 30067.
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     Amended Items are indicated in bold.




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        Contracts and Unexpired Leases; and (III) Granting Related Relief (Filed: January 17,
        2023) [Docket No. 12].

        Response Deadline: February 23, 2023 at 4:00 p.m. (prevailing Eastern Time).
        (Extended to February 24, 2023 for Kuenzli Rental Operation, LLC. and 1101 East
        Bayaud LLC; extended to February 27, 2023 for the Official Committee of Unsecured
        Creditors, Zayo Group, LLC, Equinix, Inc., and Crown Castle Fiber, LLC as to sale and
        assumption/cure objections.)

        Cure Objections:

        A.       Objection of BREIT Steadfast MF Mansfield TX LP and BREIT MF Arbour
                 Square LLC to Debtors' Notice of Potential Assumption of Executory Contracts
                 and Proposed Cure Amounts (Filed: February 23, 2023) [Docket No. 194].

        B.       Response and Objection of CRP/Pollack 72 Milton Townhome Owner, LLC,
                 CRP/Pollack 72 Milton Venture, LLC, 1246 Allene Owner, LP, Greenville Dallas
                 Owner, LP, CH Realty IX-Rangewater MF Charlotte University City, LP and 536
                 West Tremont Owner, LP Pursuant to Notice of Potential Assumption and
                 Assignment of Executory Contracts or Unexpired Leases and Cure Amounts
                 (Filed: February 24, 2023) [Docket No. 202].
        C.       Objection of Kuenzli Rental Operation LLC, d/b/a Nevada Communications and
                 Satellite to Assumption and Assignment of Contract and Proposed Cure Amount
                 (Filed: February 24, 2023) [Docket No. 205].

        D.       Amended Objection of BREIT Steadfast MF Mansfield TX LP and BREIT MF
                 Arbour Square LLC to Debtors' Notice of Potential Assumption of Executory
                 Contracts and Proposed Cure Amounts (Filed: March 14, 2023) [Docket No. 265].

        Related Documents:

        A.       Notice of Potential Assumption and Assignment of Executory Contracts or
                 Unexpired Leases and Cure Amounts (Other Assets) (Filed: February 8. 2023)
                 [Docket No. 117].

        B.       Notice of Potential Assumption and Assignment of Executory Contracts or
                 Unexpired Leases and Cure Amounts (Stalking Horse Assets) (Filed: February 8,
                 2023) [Docket No. 118].

        C.       Order (I) Approving the Sale of Assets Free and Clear of Liens, Claims, Interests
                 and Encumbrances and (II) Approving the Assumption and Assignment of
                 Executory Contracts and Unexpired Leases in Connection Therewith; and (III)
                 Granting Related Relief (Signed: March 3, 2023) [Docket No. 235].

Status: The parties have agreed to adjourn the open cure objections to the next omnibus
        hearing date.




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II.     MATTERS UNDER COC/CNO

2.      Debtors' Motion for Entry of an Order: (I) Approving Procedures for Rejecting Executory
        Contracts and Unexpired Leases; and (II) Granting Related Relief (Filed: March 16,
        2023) [Docket No. 269].

        Response Deadline: March 31, 2023 at 4:00 p.m. (prevailing Eastern Time).

        Responses Received:

        A.       Informal comments from the Official Committee of Unsecured Creditors.

        Related Documents:

        A.       Certification of Counsel Regarding Debtors' Motion for Entry of an Order: (I)
                 Approving Procedures for Rejecting Executory Contracts and Unexpired Leases;
                 and (II) Granting Related Relief (Filed: April 3, 2023) [Docket No. 292].

        Status: A Certification of Counsel has been filed. The Debtors respectfully request
                entry of the order at the Court’s convenience.

3.        Debtors' Motion for Entry of an Order: (I) Extending the Deadline by Which the Debtors
          Must Assume or Reject Unexpired Leases of Nonresidential Real Property; and (II)
          Granting Related Relief (Filed: March 28, 2023) [Docket No. 285].

        Response Deadline: April 11, 2023 at 4:00 p.m. (prevailing Eastern Time).

        Responses Received:

        None.

        Related Documents:

        A.       Certificate of No Objection Regarding Debtors' Motion for Entry of an Order: (I)
                 Extending the Deadline by Which the Debtors Must Assume or Reject Unexpired
                 Leases of Nonresidential Real Property; and (II) Granting Related Relief (Filed:
                 April 12, 2023) [Docket No. 303].

        B.       Order (I) Extending the Deadline by Which the Debtors Must Assume or Reject
                 Unexpired Leases of Nonresidential Real Property; and (II) Granting Related
                 Relief (Signed: April 14, 2023) [Docket No. 308].

          Status: An order has been entered.

4.      Debtors' Motion to Enlarge the Period Within Which They May Remove Actions (Filed:
        March 28, 2023) [Docket No. 286].

        Response Deadline: April 11, 2023 at 4:00 p.m. (prevailing Eastern Time).

        Responses Received:

        None.

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        Related Documents:

        A.       Certificate of No Objection Regarding Debtors' Motion to Enlarge the Period
                 Within Which They May Remove Actions (Filed: April 12, 2023) [Docket No.
                 304].

        B.       Order Enlarging the Period Which They May Remove Actions (Signed: April 14,
                 2023) [Docket No. 309].

        Status: An order has been entered.

5.      Debtors' Motion for Entry of an Order: (I) Setting Bar Dates for Filing Proofs of Claim,
        Including Requests for Payment Under Section 503(b)(9) of the Bankruptcy Code; (II)
        Setting a Bar Date for the Filing of Proofs of Claim by Governmental Units; (III) Setting
        a Bar Date for the Filing of Requests for Allowance of Administrative Expense Claims;
        (IV) Establishing an Amended Schedules Bar Date and a Rejection Damages Bar Date;
        (V) Approving the Form and Manner for Filing Proofs of Claim; (VI) Approving a
        Notice of Bar Dates; and (VII) Granting Related Relief (Filed: March 30, 2023) [Docket
        No. 288].

        Response Deadline: April 11, 2023 at 4:00 p.m. (prevailing Eastern Time).

        Responses Received:

        None.

        Related Documents:

        A.       Certificate of No Objection Regarding Debtors' Motion for Entry of an Order: (I)
                 Setting Bar Dates for Filing Proofs of Claim, Including Requests for Payment
                 Under Section 503(b)(9) of the Bankruptcy Code; (II) Setting a Bar Date for the
                 Filing of Proofs of Claim by Governmental Units; (III) Setting a Bar Date for the
                 Filing of Requests for Allowance of Administrative Expense Claims; (IV)
                 Establishing an Amended Schedules Bar Date and a Rejection Damages Bar Date;
                 (V) Approving the Form and Manner for Filing Proofs of Claim; (VI) Approving
                 a Notice of Bar Dates; and (VII) Granting Related Relief (Filed: April 12, 2023)
                 [Docket No. 306].

        Status:       A Certification of No Objection has been filed. The Debtors respectfully
                      request entry of the order at the Court’s convenience.

6.      Debtors’ Motion for Order Approving Procedures for the Sale or Abandonment of de
        minimis Assets (Filed: April 4, 2023) [Docket No. 294].

        Response Deadline: April 11, 2023 at 4:00 p.m. (prevailing Eastern Time).

        Responses Received:

        None.




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        Related Documents:

        A.       Certificate of No Objection Regarding Debtors’ Motion for Order Approving
                 Procedures for the Sale or Abandonment of de minimis Assets (Filed: April 12,
                 2023) [Docket No. 305].

        Status: A Certification of No Objection has been filed. The Debtors respectfully
                request entry of the order at the Court’s convenience.

III.     MATTERS GOING FORWARD

7.        First Interim Application for Compensation of Bank Street Group LLC as Investment
          Banker to the Debtors and Debtors in Possession for the Period from January 16, 2023 to
          March 14, 2023 (Filed: March 15, 2023) [Docket No. 267].

        Response Deadline: April 5, 2023 at 4:00 p.m. (prevailing Eastern Time).
        Responses Received:

        None.

        Related Documents:

        A.       Certificate of No Objection Regarding First Interim Application for
                 Compensation of Bank Street Group LLC as Investment Banker to the Debtors
                 and Debtors in Possession for the Period from January 16, 2023 to March 14,
                 2023 (Filed: April 7, 2023) [Docket No. 296].

        B.       Certification of Counsel Regarding First Interim Application for Compensation of
                 Bank Street Group LLC as Investment Banker to the Debtors and Debtors in
                 Possession for the Period from January 16, 2023 to March 14, 2023 (Filed: April
                 17, 2023) [Docket No. 313].

        C.       Order Granting First Interim Application for Compensation of Bank Street
                 Group LLC as Investment Banker to the Debtors and Debtors in Possession
                 for the Period from January 16, 2023 to March 14, 2023 (Signed: April 17,
                 2023) [Docket No. 315].

        Status: An Order has been entered.




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Dated: April 18, 2023                 PACHULSKI STANG ZIEHL & JONES LLP


                                       /s/ Laura Davis Jones
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